                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

                                  No. 5:8-CR-75-FL
                                 No. 5:19-CV-466-FL

CRUZ EDUARDO VALENCIA-ADATA,                  )
                                              )
             Petitioner,                      )
                                              )      MOTION TO STAY
             v.                               )
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
             Respondent.                      )


      The United States of America, by and through the United States Attorney for

the Eastern District of North Carolina, hereby moves the Court to stay this matter

pending issuance of the mandate in United States v. Gary, No. 18-4578. In support

of this motion, the United States submits the following:

      1.     Petitioner, pursuant to 28 U.S.C. § 2255, seeks vacatur of his felon-in

possession-of-a-firearm conviction based, at least in part, on the Supreme Court’s

decision in United States v. Rehaif, 139 S. Ct. 2191 (2019) (holding in prosecution for

possession of a firearm by a restricted person under 18 U.S.C. §§ 922(g) and 924(a),

the government must prove both that the defendant knew he possessed the firearm

and that he knew he belonged to the relevant category of restricted persons).

      2.     As this Court is aware, the Fourth Circuit recently held that “a

standalone Rehaif error satisfies plain error review because such an error is


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structural, which per se affects a defendant’s substantial rights.” United States v.

Gary, 954 F.3d 194, 200 (4th Cir. Mar. 25, 2020). The mandate in Gary was stayed

pending the Fourth Circuit’s ruling on the United States’ petition for rehearing en

banc. United States v. Gary, No. 18-4578, Docket Entry 59, dated May 8, 2020.

      3.       On July 7, 2020, the Court issued a published order denying the petition

for rehearing en banc. United States v. Gary, No. 18-4578, Docket Entry 64, dated

July 7, 2020. Judge Wilkinson issued a separate written concurrence, joined by four

other judges, in which he stated that he concurred in the denial of rehearing en banc

solely because “[t]he panel’s holding is so incorrect and on an issue of such importance

that I think the Supreme Court should consider it promptly.” Id. at 2 (Wilkinson, J.,

concurring).

      4.       After the petition for hearing en banc was denied, the United States

moved to stay the mandate in Gary until the deadline for filing a petition for certiorari

with the United States Supreme Court is filed, or, if a certiorari petition is filed, until

the petition is finally resolved. United States v. Gary, No. 18-4578, Docket Entry 65,

dated July 8, 2020. The Fourth Circuit temporarily stayed the mandate in Gary until

it rules on the United States present motion to stay. United States v. Gary, No.

184578, Docket Entry 66, dated July 9, 2020. Accordingly, the mandate in Gary

remains stayed.

      5.       The United States disagrees that the Gary decision necessitates vacatur

of Petitioner’s conviction and sentence, but acknowledges that Gary could impact the

Court’s analysis of the parties’ positions on whether Petitioner is entitled to § 2255

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relief.    Consequently, the Court should temporarily stay this case pending the

issuance of the mandate in Gary by the Fourth Circuit.

          6.   “[T]he power to stay proceedings is incidental to the power inherent in

every court to control the disposition of the causes on its docket with economy of time

and effort for itself, for counsel, and for litigants.” Landis v. North American Co., 299

U.S. 248, 254 (1936). In exercising discretion to stay a case, a court “must weigh

competing interests.” Id. at 255.

          7.   Here, a stay is appropriate for myriad reasons. First, it is possible that

the United States seeks review of the Gary decision by the United States Supreme

Court, and there is ample basis for the Court to reverse. 1 Given that uncertainty,

forging ahead based upon the panel decision in Gary and before a mandate is finally

issued invites the potential waste of limited judicial and government resources, which

could further be compounded by the numerous Rehaif-based habeas petitions




1 As Judge Wilkinson noted in his concurrence denying rehearing en banc, the Gary
decision “creates a circuit split of yawning proportions, but also an equally profound
schism with the Supreme Court’s whole approach to error review and remediation.”
United States v. Gary, No. 18-4578, Docket Entry 64, dated July 7, 2020, at 2
(Wilkinson, J., concurring). Indeed, the Gary opinion conflicts with the post-Rehaif
decisions of other courts of appeals that have found no reversible plain error from a
district court’s failure to advise the defendant of the status-knowledge element of a §
922(g)(1) charge where there was otherwise record evidence of a defendant’s
knowledge of status. E.g., United State v. Trujillo, ___ F.3d ___, 2020 WL 2745526, at
* 5 (10th Cir. May 27, 2020); United States v. Hobbs, 953 F.3d 853, 2020 WL 1316560
(6th Cir. March 20, 2020); United States v. Williams, 946 F.3d 968, 970-76 (7th Cir.
2020); United States v. Burghardt, 939 F.3d 397, 402-06 (1st Cir. 2019); Cf. United
States v. Balde, 943 F.3d 73, 97-98 (2d Cir. 2019) (applying plain error review to §
922(g) offense but reversing because defendant’s status was disputed).

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currently pending. As Judge Wilkinson pointed out in discussing the ramifications

of Gary, “[t]he erosion of finality in the context of such basic criminal offenses as

§ 922(g) and 18 U.S.C. § 924(c) will strain the resources of the lower federal courts

in no small measure. Not only that, but prosecutorial resources will be tested to the

limits by multitudes of defendants seeking to withdraw and renegotiate their pleas.

Not only that, but the resources of public defenders will be tested as well, as they

try to balance their obligations to existing clients who face serious charges and the

legions of defendants who seek to redo past bargains.” United States v. Gary, No.

184578, Docket Entry 64, dated July 7, 2020, at 7–8 (Wilkinson, J., concurring).

Principles of judicial economy therefore favor a temporary stay.

      8.     Furthermore, the Fourth Circuit and courts in our district have granted

similar motions to hold in abeyance pending cases involving § 2255 motions also

raising a Rehaif claim. See In re Kareem Jahmal Horton, Fourth Circuit No 19-373,

at Doc. 21 (filed April 9, 2020); United States v. Ismil Rasheed Jeffers, Fourth Circuit

No 19-359, at Doc. 22 (filed April 13, 2020); Daniel Lee Wade, Jr. v. United States, No.

4:17-CR-67-FL, [D.E. 76], (E.D.N.C. May 14, 2020); Rodney Lucas v. United States,

No. 4:11-CR-71-D, [D.E. 92], (E.D.N.C. May 12, 2020); Earl Wallace Jeffers, III v.

United States, No. 5:18-CR-418-BO, [D.E. 59], (E.D.N.C Apr. 23, 2020).

      9.     Accordingly, the United States requests that this matter be stayed

pending issuance of the mandate in Gary. The United States further requests it be

allowed thirty (30) days from the issuance of the mandate in Gary to respond to

Petitioner’s motion. The United States requests thirty (30) days because of the

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anticipated volume of Rehaif-based § 2255 petitions requiring a response (or a reply

to responses in opposition to the United States’ motion to dismiss) following issuance

of the mandate in Gary. 2 Additional time will likely be needed depending on that

volume, which the United States estimates now currently exceeds 200 cases. The

United States is submitting a proposed order consistent with this request

contemporaneously herewith.

      10.    In the event the Court denies the United States’ motion to stay, the

United States respectfully requests thirty (30) days from entry of the Court’s order

denying the motion to respond to Petitioner’s § 2255 motion.

      11.    The United States reserves its right to oppose or object to Petitioner’s

Rehaif-based 2255 claim on the following grounds, if applicable: (1) it is untimely,

(2) any motion to amend (or effort to amend) a previously filed 2255 motion to add a

Rehaif-based 2255 claim should be denied as futile, and/or (3) Petitioner failed to

obtain authorization from the Fourth Circuit Court of Appeals to file a second or

successive 2255 motion based on Rehaif.

      12.    Counsel for Petitioner opposes this motion. A proposed order is being

submitted herewith.



2On February 14, 2020, the Court entered a Standing Order appointing the Office of
the Federal Public Defender (“FPD”) to represent any defendant serving a federal
sentence, who was previously determined to have been entitled to counsel, or who is
now indigent, to determine whether that defendant may qualify for post-conviction
relief pursuant to Rehaif and if so, to assist the defendant in obtaining such relief.
See 20-SO-2, In Re: Motions for Post-Conviction Relief Pursuant to Rehaif v. United
States, 588 U.S. ___, 139 S.Ct. 2191 (2019).
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      WHEREFORE, the United States requests that the Court hold this matter in

abeyance pending the issuance of the mandate in Gary.


      Respectfully submitted this 4th day of August, 2020.


                                      ROBERT J. HIGDON, JR.
                                      United States Attorney

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                           CERTIFICATE OF SERVICE
      I do hereby certify that I have this 4th day of August, 2020, served a copy of the

foregoing upon the below-listed party or parties electronically using the CM/ECF

system or by placing a copy of the same in the U.S. Mail, addressed as follows:

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